Case 3:20-cv-04423-JD Document 301-9 Filed 04/07/23 Page 1 of 18




            EXHIBIT 4
         to the Declaration of Qifan Huang
        PUBLIC VERSION - REDACTED
   Case 3:20-cv-04423-JD Document 301-9 Filed 04/07/23 Page 2 of 18


                                                                      Page 1
                      U.S. DISTRICT COURT
       CALIFORNIA NORTHERN DISTRICT - SAN FRANCISCO


MARIA SCHNEIDER, et al.,           )
                                   )
                    Plaintiff,     )
                                   )
     vs.                           )           Case No.:
                                   )           3:20-cv-04423-JD
YOUTUBE, LLC, et al.,              )
                                   )
                    Defendant.     )
___________________________________)




               VIDEOTAPED REMOTE DEPOSITION OF
                         CRISTOS GOODROW
                  SAN FRANCISCO, CALIFORNIA
                          JUNE 28, 2022




REPORTED BY:    SANDRA S. PETRITSCH, CSR NO. 11684
FILE NO. 846011
                 Case 3:20-cv-04423-JD Document 301-9 Filed 04/07/23 Page 3 of 18

                                                        Page 2                                                                Page 4
 1            U.S. DISTRICT COURT                                  1               INDEX
 2       CALIFORNIA NORTHERN DISTRICT - SAN FRANCISCO              2   WITNESS: CRISTOS GOODROW
 3                                                                 3   EXAMINATION                             PAGE
 4   MARIA SCHNEIDER, et al.,          )                           4       By Mr. Korologos                   6
                         )                                         5              EXHIBITS
 5             Plaintiff, )                                        6   NUMBER             DESCRIPTION               PAGE
                         )                                         7    128 Abuse Threat in Watch Next             24
 6     vs.                 ) Case No.:                                     5/29/2019 (44 pages)
                         ) 3:20-cv-04423-JD                        8
 7   YOUTUBE, LLC, et al.,          )                                   129  Learned Ranking Function for          39
                         )                                         9       WatchNext 2/2020 (26 pages)
 8             Defendant. )
                                                                  10    130 Watch Next Eng Review                  46
     ___________________________________)                                  5/8/2017 (90 pages)
                                                                  11
 9
10
                                                                        131  Watch Next Nominators                97
                                                                  12       10/18/2019 (20 pages)
11
                                                                  13    132 On YouTube's Recommendation                 114
12
                                                                           System - September 15, 2021
13                                                                14       (17 pages)
14                                                                15    133 WatchNext/Autoplay Deep Dive               119
15                                                                         5/16/2019 (24 pages)
16         Videotaped remote deposition of CRISTOS GOODROW,       16
17   taken on behalf of Plaintiff, in San Francisco, California   17
18   commencing at 9:17 a.m., Tuesday, June 28, 2022, before      18            INSTRUCTIONS NOT TO ANSWER:
19   Sandra S. Petritsch, CSR No. 11684.                          19                 (None)
20                                                                20
21                                                                21
22                                                                22              INFORMATION REQUESTED:
23                                                                23                 (None)
24                                                                24
25                                                                25


                                                        Page 3                                                                Page 5
 1          A P P E A R A N C E S:                                 1   SAN FRANCISCO, CA; TUESDAY, JUNE 28, 2022; 9:17 a.m.
 2   FOR PLAINTIFF:
 3   BOIES, SCHILLER & FLEXNER, LLP                                2             CRISTOS GOODROW,
     BY: PHILIP C. KOROLOGOS, Esq.                                 3       having first been duly sworn, was
 4      WALESKA SUERO GARCIA, Esq.
     55 Hudson Yards, 20th Floor                                   4       examined and testified as follows:
 5   New York, New York 10001                                      5
     (216) 446-2300 (via videoconferencing)
 6   pkorologos@bsfllp.com                                         6                  PROCEEDINGS
 7   KOREIN|TILLERY, LLC                                           7          VIDEOGRAPHER: We are now on the record. This
     BY: GEORGE ANDREW ZELCS, Esq.
 8   205 N. Michigan Plaza, Suite 1950                             8   begins Videotape No. 1 in the deposition of Cristos
     Chicago, Illinois 60601                                       9   Goodrow in the matter of Maria Schneider vs. YouTube, LLC.
 9   (312) 641-9750 (via videoconferencing)
     gzelcs@koreintillery.com                                     10   Today is Tuesday, June 28th of 2022. And the time is
10                                                                11   9:17 a.m. This deposition is being taken virtually at the
11   FOR DEFENDANT:
12   WILSON, SONSINI, GOODRICH AND ROSATI, PC                     12   request of Boies, Schiller, Flexner, LLP. The
     BY: LAUREN GALLO WHITE, Esq.                                 13   videographer is Peter Van der Vlugt of Magna Legal
13      KELLY KNOLL, Esq.
     One Market Plaza                                             14   Services, and the court reporter is Sandi Petritsch of
14   Spear Tower, Suite 3300
     San Francisco, California 94105-1126
                                                                  15   Magna Legal Services
15   (415) 947-2000 (via videoconferencing)                       16          Will counsel and all parties present state their
     lwhite@wsgr.com
16
                                                                  17   appearances and whom they represent.
17                                                                18          MR. KOROLOGOS: Philip Korologos with Boies,
     ALSO PRESENT:
18                                                                19   Schiller, Flexner for Plaintiffs.
     Peter Van der Vlugt, Videographer                            20          ALSO PRESENT: Waleska Suero Garcia with Boies,
19
     Sam Reed Dippo - YouTube                                     21   Schiller, Flexner for the plaintiffs.
20                                                                22          MR. ZELCS: George Zelcs on behalf of the
21
22                                                                23   plaintiffs.
23                                                                24          MS. WHITE: Lauren White with Wilson|Sonsini on
24
25                                                                25   behalf of Defendants Google and YouTube. And with me are


                                                                                                  2 (Pages 2 to 5)
             Case 3:20-cv-04423-JD Document 301-9 Filed 04/07/23 Page 4 of 18

                                                    Page 6                                                            Page 8
 1   Kelly Knoll, also with Wilson|Sonsini; and Sam Reed Dippo    1   you also working on Google shopping?
 2   from YouTube.                                                2      A Yes.
 3                    (Sworn in.)                                 3      Q And when did you start working on Google
 4                    EXAMINATION                                 4   shopping?
 5   BY MR. KOROLOGOS:                                            5      A In February of 2008.
 6       Q Good morning.                                          6      Q And is that when you joined Google?
 7       A Good morning.                                          7      A Yes.
 8       Q Have you been deposed before?                          8      Q What are your primary responsibilities as a
 9       A Yes.                                                   9   vice president of engineering at Google working on
10       Q As you probably remember from that, it's              10   YouTube?
11   important that we try not to talk over each other; but      11      A I'm responsible for the engineering organization
12   it's also important to make sure that you understand my     12   of Core Experiences.
13   questions. And particularly, since we're doing this         13      Q What is Core Experiences?
14   virtually, if you have any difficulty understanding or      14      A Core Experiences is an organization that
15   hearing my question, please feel free to interrupt and      15   includes the main app of YouTube and YouTube Kids.
16   we'll make sure we get that cleared up. What's most         16      Q Did you say, "YouTube Kids"?
17   important is that you and I both understand each other;     17      A That's correct. YouTube Kids app.
18   but, also, that the court reporter can understand what      18      Q So both the Kids YouTube app and the main
19   each of us says so that she can write it down for us.       19   YouTube app?
20           Is that fair?                                       20      A That's correct.
21       A Yes.                                                  21      Q What aspects of engineering for the main YouTube
22       Q Good. What's your current position?                   22   app do you oversee?
23       A I am a vice president of engineering at Google,       23      A I oversee just the main app of YouTube and
24   and I work on YouTube.                                      24   actually binary that is distributed on Android devices,
25       Q And do you do anything other than work on             25   Ios, or Apple devices. Also, the the Web version of

                                                    Page 7                                                            Page 9
 1   YouTube in that position?                                    1   YouTube. Those are the areas.
 2      A No. I can't think of other things that I do             2      Q And does that include overseeing the search and
 3   outside of my work at YouTube.                               3   discovery function within YouTube?
 4      Q How long have you been a vice president of              4      A Yes.
 5   engineering at Google?                                       5      Q And what is the search and discovery function?
 6      A About six years, I think.                               6      A Well, the search function I feel like that's
 7      Q So since about 2015/2016?                               7   somewhat explanatory. It's what happens when you visit
 8      A I think 2016.                                           8   YouTube and search for a video or for anything and then
 9      Q And what was your position before that?                 9   the responses or results can be videos or channels or a
10      A I was a director of engineering.                       10   variety of different things. And then the discovery
11      Q Also at Google?                                        11   aspect is essentially the recommendation systems on the
12      A That's correct.                                        12   main YouTube app, excluding what happens in what we call
13      Q And did you also work on YouTube as a director         13   the shorts player.
14   of engineering?                                             14      Q As in not longs?
15      A Yes.                                                   15      A Correct.
16      Q And when did you become a director of                  16      Q How does the -- let me withdraw that.
17   engineering at Google working on YouTube?                   17          Do you view the search function and discovery
18      A I think that was March of 2011.                        18   function as separate buckets?
19      Q And prior to that what position did you hold?          19          MS. WHITE: Objection to the form.
20      A I was a director of engineering at Google              20          THE WITNESS: Well, there are separate teams,
21   working on Google shopping.                                 21   but they use many of the same techniques and they
22      Q And when did you start that?                           22   actually -- like a lot of the systems -- are used for both
23      A I think I was promoted to director, maybe, in          23   parts. Both functioning's.
24   2010.                                                       24      Q (By Mr. Korologos) What is YouTube's WatchNext
25      Q And prior to being promoted to director, were          25   function?


                                                                                                3 (Pages 6 to 9)
              Case 3:20-cv-04423-JD Document 301-9 Filed 04/07/23 Page 5 of 18

                                                   Page 10                                                            Page 12
 1          MS. WHITE: Objection to the form.                      1   recommendations, but also what is going to be played next
 2          THE WITNESS: WatchNext is a set of                     2   via autoplay, if autoplay is enabled?
 3   recommendations that are surfaced when you're watching a      3           MS. WHITE: Object to form.
 4   video from what you might be interested in watching next.     4           THE WITNESS: The video that would be played
 5       Q (By Mr. Korologos) And what's the relationship          5   next, if autoplay is enabled, is just the top
 6   between YouTube's search and discovery functions and          6   recommendation provided by WatchNext.
 7   WatchNext?                                                    7       Q (By Mr. Korologos) If I'm watching a video and
 8       A WatchNext is one of the search and discovery            8   WatchNext has done its thing and created a
 9   functions.                                                    9   recommendations' list that appears on my view screen, as
10       Q Am I correct that WatchNext populates the              10   long as I'm not in full screen mode and I can see it, and
11   recommendations' list that would appear on a user's watch    11   the video I'm watching ends, autoplay is enabled -- the
12   page while they're watching a video?                         12   first question to make sure I understand your answer --
13       A Yes. Those are the WatchNext recommendations           13   the next video that would play would be the top video
14   that appear when you're watching a video.                    14   that's on that recommendations' list?
15       Q And those recommendations are, I believe you           15           MS. WHITE: Object to form.
16   used the word, surfaced by YouTube's discovery function?     16           THE WITNESS: If the autoplay is enabled and the
17          MS. WHITE: Object to form.                            17   video concludes after some amount of countdown, the top
18          THE WITNESS: Those recommendations are surfaced       18   recommendation from the WatchNext list will play.
19   in response to the video the user is watching and their      19       Q (By Mr. Korologos) Now I'm watching video that
20   watch history.                                               20   was at the top of the recommendations' list, will the next
21       Q (By Mr. Korologos) How does WatchNext do that?         21   video that plays be generated from a new recommendations'
22       A WatchNext uses information about the video that        22   list as I'm watching that video or will it be the second
23   you happen to be watching and the videos that you've         23   video that was on the watch list -- I'm sorry, the
24   watched previously, along with information about other       24   recommendations' list -- of the list that appears on the
25   instances in which people have watched similar videos and    25   watch page when I was watching the first video?


                                                   Page 11                                                            Page 13
 1   recommends a set of videos that are most likely to be         1          Do you understand that?
 2   something you'd be interested in watching next.               2          MS. WHITE: Object to the form.
 3      Q And is that -- let me withdraw that.                     3          THE WITNESS: I think it depends on the setting.
 4          Is the way that WatchNext does that something          4   In some instances, yes. And in some instances, no.
 5   that the search and discovery function of YouTube that you    5       Q (By Mr. Korologos) Let me ask it this way:
 6   oversee performs?                                             6   When a recommendations' list is generated to populate both
 7          MS. WHITE: Object to form.                             7   the recommendations' list that's on the watch page, but
 8          THE WITNESS: I'm not sure I understood exactly.        8   also to choose the next video that's going to play in
 9   What is the question?                                         9   autoplay, if autoplay is enabled, how frequently is that
10          MR. KOROLOGOS: Let me ask it a different way.         10   recommendations' list regenerated?
11      Q (By Mr. Korologos) The manner in which you have         11          MS. WHITE: Object to form.
12   generally described what WatchNext does, is that something   12          THE WITNESS: I don't understand "how
13   that is done using the engineering that you oversee in       13   frequently." In terms of how many times a day or
14   search and discovery?                                        14   something?
15      A Yes.                                                    15       Q (By Mr. Korologos) Well, let me ask it this
16      Q And am I correct that in addition to populating         16   way: Is the recommendations' list -- let me withdraw
17   the recommendations on a user's watch page, WatchNext also   17   that.
18   populates autoplay with a recommended video that would       18          Is a recommendations' list generated each time a
19   play next if the user has autoplay enabled while they're     19   new video is being watched by the user?
20   watching a video?                                            20       A A new list of recommendations is generated
21          MS. WHITE: Object to form.                            21   for -- well, what I would say, WatchNext recommendations
22          THE WITNESS: The WatchNext system is                  22   is generated for every visit to a watch page.
23   responsible for choosing all of those recommendations,       23       Q And if I visit a watch page, am I able to watch
24   yes.                                                         24   more than one video without that being considered a visit
25      Q (By Mr. Korologos) For chooses both                     25   to a new watch page?


                                                                                             4 (Pages 10 to 13)
              Case 3:20-cv-04423-JD Document 301-9 Filed 04/07/23 Page 6 of 18

                                                    Page 14                                                         Page 16
 1       A Every video is a different visit to a watch             1   those candidates?
 2   page.                                                         2          MS. WHITE: Object to the form.
 3       Q So each time I watch a new video, I'm watching a        3          THE WITNESS: I think that's a fair conceptual
 4   new watch page or visiting --                                 4   way of thinking about it, yes.
 5       A You're visiting -- right. You're visiting a new         5       Q (By Mr. Korologos) And in that process,
 6   watch page. That's a new visit.                               6   generally speaking -- we'll get into some of the
 7       Q And so each visit will result in the generation         7   details -- how does YouTube nominate candidates from the
 8   of a recommendations' list unique to that watch page; and,    8   billions of videos on the platform?
 9   therefore, unique to that video?                              9       A There are many ways. There are many ways.
10           MS. WHITE: Object to the form.                       10       Q And how would you generally describe those
11           THE WITNESS: It will be generated, but it could      11   ways?
12   be identical. The uniqueness is -- it's regenerated each     12       A I'm not quite sure how to describe them. There
13   time, but it could be the exact same set.                    13   is a variety of different technical approaches. There is
14       Q (By Mr. Korologos) But it could be different?          14   a variety of different systems that use different pieces
15       A It depends on the setting.                             15   of information.
16       Q What setting?                                          16       Q Approximately how many videos do -- let me
17       A Well, if you visited; for instance, if you             17   withdraw that.
18   visited a play list, then the user's expectations are that   18          Approximately how many videos are there on the
19   the video would play in the order of that play list and      19   YouTube system that are analyzed when candidates are
20   the WatchNext would display all of the members of the play   20   nominated?
21   list in their sequence. And so in that setting the user      21          MS. WHITE: Object to the form.
22   expects that the top of WatchNext would have the next        22          THE WITNESS: I don't know.
23   video that someone has put in the play list, and the one     23       Q (By Mr. Korologos) Is it more than a billion?
24   after that would be the subsequent one and so on.            24       A I mean, in theory -- I think it depends on what
25           Another setting would be if you're watching a        25   you mean by analyzing. In theory, all videos could be


                                                    Page 15                                                         Page 17
 1   video that's episodic; so, for instance, episode three of     1   nominated.
 2   seven, then you would -- the user would -- expect that the    2      Q And what I'm trying to get is an understanding
 3   subsequent video would be episode four of seven, and then     3   of what's the population of that "all videos" phrase you
 4   the video after that would be episode five of seven and so    4   just used.
 5   the WatchNext system is designed so that it would show you    5      A The population is all of the videos that are on
 6   the episodes in some order.                                   6   YouTube.
 7      Q So when you were using the term "setting,"               7      Q Do you know how many there are?
 8   you're describing the circumstances surrounding which the     8      A No. I don't know how many there are.
 9   video is played; not some switch within the program or the    9      Q And do you know approximately how many there
10   app?                                                         10   are?
11      A That's right. The context of the user and the           11      A No.
12   video.                                                       12      Q Do you know if it's more than a billion?
13      Q How would you describe what the goal is of the          13      A I believe that it's more than a billion, yes.
14   WatchNext function?                                          14      Q Do you believe it's more than
15          MS. WHITE: Object to the form.                        15      A I believe it's more than
16          THE WITNESS: I would say it's trying to help          16      Q Do you know if it's more than
17   people find the videos they most want to watch next.         17      A I don't know if it's more than
18      Q (By Mr. Korologos) And would your answer change         18      Q Do you know if it's more than
19   to describe the goal of the autoplay feature on YouTube?     19      A I believe it's more than
20      A No.                                                     20      Q So you think it's more than             but you're
21      Q Mr. Goodrow, am I correct that the general              21   not sure if it's more than       is that right?
22   process for the recommendations' system within YouTube can   22      A That's correct.
23   be described as nominating candidates out of billions of     23      Q In the recommendations' system, when candidates
24   videos on the YouTube platform and then ranking those        24   are nominated before they're ranked, approximately how
25   candidates and then filtering out or tweaking the ranks of   25   many candidates tend to be nominated?


                                                                                            5 (Pages 14 to 17)
              Case 3:20-cv-04423-JD Document 301-9 Filed 04/07/23 Page 7 of 18

                                                    Page 74                                                          Page 76
 1   the past in connection with recommendation that you           1       A In all cases.
 2   recall?                                                       2       Q Did you say in many cases?
 3      A As I recall they have been used in the past in           3       A In all cases. I'll come closer.
 4   nomination for recommendations.                               4       Q I think it's a connectivity issue and not just
 5      Q And do you recall how they were used to help             5   where you're sitting. It sounded garbled and that's why I
 6   generate nominations?                                         6   followed up.
 7      A Yes.                                                     7         In the cases where it does eliminate duplicates,
 8      Q What do you recall?                                      8   what does the search system consider to be a duplicate?
 9      A As I recall there was, at some point, a                  9       A As I recall, it's either an 80 or 90 percent
10   nominator that would take the Legos of the video you were    10   complete match of the video content.
11   watching or the videos you had watched and then nominate     11       Q And how is that 80 or 90 percent complete match
12   for recommendation other videos that had the same Legos.     12   of the video content determined?
13      Q And you're not sure one way or the other whether        13       A It's determined by the matching system.
14   that still happens within recommendations?                   14       Q What kind of matching system?
15          MS. WHITE: Object to form.                            15       A I really can't say.
16          THE WITNESS: I'm not sure, that's correct.            16       Q You can't say what?
17          MR. KOROLOGOS: Okay.                                  17       A I don't understand it well-enough to be able to
18      Q (By Mr. Korologos) Does the YouTube                     18   describe it.
19   recommendation system attempt to avoid recommending videos   19       Q Is it -- let me withdraw that.
20   to the viewer that the viewer has recently watched?          20         Does it have a name?
21      A Not necessarily.                                        21         MS. WHITE: Object to form.
22      Q When you say, "not necessarily," what do you            22         THE WITNESS: I call it the match system.
23   mean?                                                        23       Q (By Mr. Korologos) What do other people call
24      A I mean that in certain circumstances it takes           24   it?
25   into consideration if the viewer had recently watched it.    25       A I think they also call it the match system.

                                                    Page 75                                                          Page 77
 1   In other circumstances it doesn't.                            1         Q Is it the same as the copyright match system?
 2       Q What are the circumstances where it does and            2         A I don't know.
 3   what are the circumstances where it doesn't?                  3         Q Do you know what the copyright match system
 4       A An example where it doesn't tear, if you had or         4   is?
 5   the user had recently watched -- if the user had gotten       5      A Vaguely.
 6   part way through a long video. So I watch math lectures       6      Q Or the copyright match tool?
 7   on YouTube and if I only got halfway through one, it might    7      A Not really.
 8   recommend that video again to me even though I had already    8      Q What's your vague understanding of the copyright
 9   "watched" it.                                                 9   match system?
10       Q What about in generating an up next list on the        10      A My understanding is there is a system that
11   watch page; does the recommendation system try to avoid      11   compares reference files to videos uploaded to YouTube.
12   putting duplicative videos on that list?                     12      Q Is that the copy -- the content -- ID system?
13       A Duplicate? What exactly do you mean by                 13      A That's my vague understanding of the content ID
14   "duplicate"?                                                 14   system. Experts might say that one particular part is
15       Q The same video. What is essentially the same           15   exactly ID and another part is something else.
16   video that's on the platform twice.                          16      Q Is it your understanding that the content ID
17           MS. WHITE: Object to the form.                       17   system is the matching system used to eliminate duplicates
18           THE WITNESS: I don't know if we have duplicate       18   in search as you've described?
19   filtering in WatchNext.                                      19      A No.
20       Q (By Mr. Korologos) Do you have duplicate               20      Q Is it your understanding that technology used by
21   filtering in search?                                         21   the content ID system is used to eliminate those
22       A Yes. The search system filters duplicates.             22   duplicates?
23       Q Meaning that the search list that is presented         23      A I don't know.
24   to the user who is engaged in the search will eliminate a    24      Q Who would know?
25   duplicate result?                                            25      A Someone working on the match system.


                                                                                            20 (Pages 74 to 77)
              Case 3:20-cv-04423-JD Document 301-9 Filed 04/07/23 Page 8 of 18

                                                  Page 122                                                          Page 124
 1   home trying to provide a diverse set of suggestions.          1   problem, whereas if you think about that same pretty
 2       Q Is there -- let me withdraw that.                       2   simplistic algorithm, it kind of has no chance of working
 3          Under what circumstances is there an effort by         3   on YouTube because I could rank the most viewed videos for
 4   YouTube in its search function what it provides in a          4   you and like they probably wouldn't even be in your
 5   response to a query an effort to increase the diversity of    5   language or it's not going to work at all. So I don't
 6   videos watched by a user?                                     6   know -- I don't believe -- that's right. I don't think
 7          MS. WHITE: Objection to form.                          7   that's a simple statement to make.
 8          THE WITNESS: The search function isn't trying          8       Q (By Mr. Korologos) Well, if I move away from it
 9   to increase the set of the diversity of the set of videos     9   being simple in general to being specific to YouTube, as
10   to watch. The search function, when it tries to provide      10   opposed to other networks like Apple Plus or Netflix or
11   diversities, is trying to ensure that the user gets to see   11   something like that, does the number of different videos
12   a diverse set of results. It's not -- it doesn't have as     12   that are on the platform increase the opportunities for
13   the goal to get the user to watch a diverse set. Just to     13   YouTube to be able to provide a specific video that is
14   make sure that it's offering a diverse set. And that's       14   more likely to be a video that the user wants to watch and
15   only for certain queries like you described. Maybe funny     15   does watch?
16   video or something.                                          16          MS. WHITE: Objection to form.
17       Q (By Mr. Korologos) Am I correct that as the            17          THE WITNESS: I think that inside your question
18   number of videos on the YouTube platform has increased       18   is a premise that what people want to watch will continue
19   over time that the ability of YouTube to find videos to      19   to fragment and be more widely dispersed across content.
20   recommend to users through its WatchNext function that       20   If you don't believe that, and I don't think everybody
21   users want to watch gets easier?                             21   does -- there are some people that believe that's just a
22          MS. WHITE: Objection to form.                         22   temporary situation and pretty soon everybody in the world
23          MR. KOROLOGOS: Let me withdraw that because the       23   is going to watch hundred different shows and that's it.
24   easier might be confusing.                                   24   So if you believe that, then having more videos is not a
25       Q (By Mr. Korologos) Am I correct that the               25   particular advantage or doesn't make it any easier.

                                                  Page 123                                                          Page 125
 1   ability of YouTube's recommendations' system to provide to    1      Q (By Mr. Korologos) What's your belief?
 2   a user a video that the user wants to watch improves with     2      A I believe that content, consumption, and
 3   more content being on the YouTube platform?                   3   interest will continue to fragment and so I believe that
 4          MS. WHITE: Objection to form.                          4   having a larger set of videos will be more likely to
 5          THE WITNESS: You know, I don't think so.               5   satisfy a larger number of users.
 6      Q (By Mr. Korologos) Well, if you had for videos           6          MR. KOROLOGOS: Why don't we take a break until
 7   on the platform, doesn't that give you a greater              7   four o'clock and let me use that time to organize all of
 8   opportunity to find a video that more particularly matches    8   my notes and see if we can finish things off during the
 9   what a user might be looking for?                             9   next session.
10          MS. WHITE: Objection to form.                         10          VIDEOGRAPHER: Off the record at 3:47.
11          THE WITNESS: I think that's a way of thinking         11          (Recess from 3:47 p.m. to 4:05 p.m.)
12   about it, but I think you also have to consider -- for       12          VIDEOGRAPHER: On the record at 4:05.
13   instance, if you have a smaller corpus and you have a        13      Q (By Mr. Korologos) Mr. Goodrow, did you do a
14   service that's well-known for that corpus like, I don't      14   pod cast with Lex Fridman? L-e-x F-r-i-d-m-a-n.
15   know, let's take Netflix or Apple Plus; is their             15      A Yes.
16   recommendation problem easier or harder? Well, a strategy    16      Q When did you do that; do you recall?
17   that might work that's pretty simple in the Netflix or       17      A I think it was in 2019.
18   Apple Plus case, just show at the top always the shows       18      Q Past couple of years; two or three years?
19   that or the videos that most of the people like and that's   19      A It was before Covid.
20   a pretty -- that's a pretty -- straightforward               20      Q We've talked some today about how the
21   recommendation algorithm.                                    21   recommendations' system works, how WatchNext works, and
22          And it may work very well for those services          22   how autoplay works; how would you describe a perfectly
23   because the people are kind of self-selecting in. When       23   tuned autoplay feature on YouTube?
24   they go to Apple Plus, they expect to see Ted Lasso or       24          MS. WHITE: Objection to form.
25   whatever it is and so that's an easier recommendation        25          THE WITNESS: A perfectly tuned autoplay feature


                                                                                      32 (Pages 122 to 125)
              Case 3:20-cv-04423-JD Document 301-9 Filed 04/07/23 Page 9 of 18

                                                  Page 126                                                         Page 128
 1   on YouTube would correctly anticipate all of the videos I    1   STATE OF CALIFORNIA )
 2   want to watch. I wouldn't say it's the autoplay feature                     ) SS.
 3   in particular, but I would say that the best WatchNext       2   COUNTY OF SACRAMENTO         )
                                                                  3
 4   suggestions would correctly anticipate all the videos I
                                                                  4
 5   would want to watch and in the sequence that I would want    5
 6   to watch them, and the one that I most wanted to watch       6
 7   after each one would be at the top.                          7             I, the undersigned, declare under penalty
 8       Q (By Mr. Korologos) And that's irrespective of          8   of perjury that I have read the foregoing transcript,
 9   whether you knew of the existence of those videos before     9   and I have made any corrections, additions or deletions
10   the WatchNext list was populated?                           10   that I was desirous of making; that the foregoing is a
11       A When you say me, you're talking --                    11   true and correct transcript of my testimony contained
12       Q Well, I used you because you seem to shift into       12   therein.
                                                                 13             EXECUTED this ____ day of ________________,
13   the first person in your answer.
                                                                 14   _______, at _____________________, ______________________.
14       A Oh. So, in this case, you're talking about the                           (City)          (State)
15   user?                                                       15
16       Q Yes.                                                  16
17       A I see.                                                17
18          Right. The WatchNext suggestions would surface       18             ______________________________________
19   videos that the user was unaware or might surface videos                        CRISTOS GOODROW
20   that the user was unaware existed on YouTube.               19
                                                                 20
21          MR. KOROLOGOS: I have no further questions.
                                                                 21
22          Ms. White may have some questions.                   22
23          MS. WHITE: Can we take a two minute recess?          23
24          MR. KOROLOGOS: Sure.                                 24
25          VIDEOGRAPHER: Off the record at 4:08.                25


                                                  Page 127                                                         Page 129
 1        (Recess from 4:08 p.m. to 4:11 p.m.)                    1             REPORTER'S CERTIFICATE
 2        VIDEOGRAPHER: On the record 4:11.                       2
 3        MS. WHITE: We have no questions for                     3
 4   Mr. Goodrow.                                                 4         I, SANDRA S. PETRITSCH, CSR No. 11684, Certified
 5        MR. KOROLOGOS: Okay. Thank you, everybody.              5   Shorthand Reporter, certify;
 6        Nice meeting you, Mr. Goodrow.                          6         That the foregoing proceedings were
 7        THE WITNESS: Nice meeting you.                          7   stenographically reported by me at the time and place
 8        VIDEOGRAPHER: Off the record at 4:12.                   8   therein set forth and were thereafter transcribed;
 9        (Time Noted: 4:12 p.m.)                                 9         That the foregoing is a true and correct
10                                                               10   transcript of my shorthand notes so taken.
11                                                               11         I further certify that I am not a relative or
12                                                               12   employee of any attorney or any of the parties nor
13
                                                                 13   financially interested in the action.
                                                                 14         I declare under penalty of perjury under the
14
                                                                 15   laws of California that the foregoing is true and correct.
15
                                                                 16         Dated this 22nd day of July, 2022.
16
                                                                 17
17
                                                                 18
18
                                                                 19
19                                                               20         ___________________________________________
20                                                                          SANDRA S. PETRITSCH, CSR No. 11684
21                                                               21
22                                                               22
23                                                               23
24                                                               24
25                                                               25


                                                                                      33 (Pages 126 to 129)
         Case 3:20-cv-04423-JD Document 301-9 Filed 04/07/23 Page 10 of 18

Witness:
Witness: Cristos
          Cristos Goodrow
                  Goodrow — — June
                              June 28,
                                    28, 2022
                                        2022 Deposition
                                             Deposition
Schneider v.
Schneider  v. YouTube,
              YouTube, LLC,
                       LLC, No.  3:20-cv-04423-JD (N.D.
                            No. 3:20-cv-04423-JD    (N.D. Cal.)
                                                          Cal.)
Job No.
Job No. 846011
         846011




                                         Errata
                                         Errata Sheet
                                                Sheet



pti            Jom      [raw
EE             [re       C—
 Page:Line     Change                                             Reason



[ETN           [ye   yey rye ——
 7:21          Replace <shopping> with <Shopping>                 To correct transcription errors



[ETI           [eT       Ce ——
 8:23          Replace <YouTube and> with <YouTube, the>          To correct transcription errors



[ER            [ee       Ce——
 8:24          Replace <actually> with <actual>                   To correct transcription errors



CE             [rE        ye ——
 8:25          Replace <Ios> with <iOS>                           To correct transcription errors



[TR            [rr   — y————
 9:7           Insert <self-> before <explanatory>                To correct transcription errors



EC             Ce        Cye—
 9:23          Replace <functioning’s> with <functions>           To correct transcription errors



IEE                      CT
 10:4          Replace <from> with <for>                          To correct transcription errors



CE             [eT        ye ——
 13:22         Replace <is> with <are>                            To clarify the record



CE             [ee       Ce ——
 14:17         Replace <visited; for> with <visited -- for>       To correct transcription errors



EE               ee      CYT
 14:18         Replace <play list> with <playlist>                To correct transcription errors



ECE            [re ——
 14:19         Replace <video> with <videos>                      To clarify the record



EE             [re       Ce ——
 14:19         Replace <play list> with <playlist>                To correct transcription errors



EE             [Ee        ye ——
 14:20-14:21   Replace <play list> with <playlist>                To correct transcription errors



CE             [re        ye —"
 14:23         Insert <then> between <and> and <the>              To correct transcription errors



IEE            Ce         ym
 14:23         Replace <play list> with <playlist>                To correct transcription errors



CEN            [Te  Wa ye——
 15:1          Replace <;> with <,>                               To correct transcription errors



[EE            [ey       Ce —
 19:4          Replace <user and> with <user. And>                To correct transcription errors



ET             [TR ER Cy —
 19:12         Replace <learn> with <learned>                     To correct transcription errors



ESI            [———       ye——
 20:6          Replace <that and> with <that -- and>              To correct transcription errors



EET            [eT       Ce —
 20:7          Replace <responsibile> with <responsible>          To correct transcription errors

 20:21         Replace <, we> with <. We>                         To correct transcription errors
         Case 3:20-cv-04423-JD Document 301-9 Filed 04/07/23 Page 11 of 18

Witness:
Witness: Cristos
          Cristos Goodrow
                  Goodrow — — June
                              June 28,
                                    28, 2022
                                        2022 Deposition
                                             Deposition
Schneider v.
Schneider  v. YouTube,
              YouTube, LLC,
                       LLC, No.  3:20-cv-04423-JD (N.D.
                            No. 3:20-cv-04423-JD    (N.D. Cal.)
                                                          Cal.)
Job No.
Job No. 846011
         846011




 20:22           Replace <, we> with <. We>                        To correct transcription errors

 21:7            Insert <rate> between <to> and <a>                To correct transcription errors

 30:18           Replace <pushes> with <push>                      To clarify the record

 32:17           Replace <watched> with <watch>                    To correct transcription errors

 32:19           Replace <video. But> with <video, but>            To correct transcription errors

 32:24           Replace <watched> with <watch>                    To correct transcription errors

 36:1            Replace <value
                 Replace   <value watch
                                   watch time
                                         time and
                                              and satisfaction
                                                  satisfaction     To correct
                                                                   To correct transcription
                                                                              transcription errors
                                                                                            errors
                 which   stems> with
                 which stems>    with <valued
                                      <valued watch
                                              watch time
                                                     time or
                                                           or
                 satisfaction,
                 satisfaction, which
                               which comes>
                                      comes>

 37:2            Replace
                 Replace <author
                          <author or
                                  or authoritative>
                                     authoritative> with
                                                    with           To
                                                                   To clarify
                                                                      clarify the
                                                                              the record
                                                                                  record
                 <authoritativeness>
                 <authoritativeness>

38:19
 38:19      |    Replace <mention>
                 Replace <mention> with
                                   with <understand>
                                        <understand>               To correct
                                                                   To correct transcription
                                                                              transcription errors
                                                                                            errors

 40:9            Replace <Andres> with <Andre>                     To correct transcription errors

 40:16           Replace <supervised> with <supervise>             To clarify the record

 41:1            Replace <Liwei> with <Li Wei>                     To correct transcription errors

 41:17           Replace <Yee Wu (phonetic)> with <Yi Wu>          To correct transcription errors

 44:9            Replace <released> with <raised>                  To correct transcription errors

 45:16           Replace <distribution
                 Replace  <distribution and
                                         and means>
                                             means> with
                                                    with           To correct
                                                                   To correct transcription
                                                                              transcription errors
                                                                                            errors
                 <distributions and
                 <distributions and the
                                     the means>
                                         means>

 46:9            Replace <derive
                 Replace  <derive more
                                   more viewers>
                                         viewers> with
                                                  with <provide
                                                       <provide | To
                                                                  To correct
                                                                     correct transcription
                                                                             transcription errors
                                                                                           errors
                 more value
                 more        to viewers>
                       value to viewers>

 46:10           Replace
                 Replace <of
                         <of the
                              the experiments
                                  experiments weighing>
                                              weighing> with
                                                        with       To
                                                                   To correct
                                                                      correct transcription
                                                                              transcription errors
                                                                                            errors
                 <of experiments
                 <of experiments weighting>
                                  weighting>

 46:14
d6i04      |     Replace
                 Replace <apps>
                         <apps> with
                                with <at>
                                     <at>                          To
                                                                   To correct
                                                                      correct transcription
                                                                              transcription errors
                                                                                            errors

a6:
 46:15          | Replace
                  Replace <valued>
                          <valued> with
                                   with <value
                                        <value to>
                                               to>                 To correct
                                                                   To correct transcription
                                                                              transcription errors
                                                                                            errors

as2
 48:2      |     Replace <videos
                 Replace <videos in>
                                 in> with
                                     with <videos,
                                          <videos, in>
                                                   in>             To correct
                                                                   To correct transcription
                                                                              transcription errors
                                                                                            errors
         Case 3:20-cv-04423-JD Document 301-9 Filed 04/07/23 Page 12 of 18

Witness:
Witness: Cristos
          Cristos Goodrow
                  Goodrow — — June
                              June 28,
                                    28, 2022
                                        2022 Deposition
                                             Deposition
Schneider v.
Schneider  v. YouTube,
              YouTube, LLC,
                       LLC, No.  3:20-cv-04423-JD (N.D.
                            No. 3:20-cv-04423-JD    (N.D. Cal.)
                                                          Cal.)
Job No.
Job No. 846011
         846011




 48:3          Replace <uploaded
               Replace <uploaded here>
                                 here> with
                                       with <uploaded,
                                            <uploaded, that
                                                       that | To
                                                              To correct
                                                                 correct transcription
                                                                         transcription errors
                                                                                       errors
               appear>
               appear>

EN
48:4           Replace <be>
               Replace <be> with
                            with <do>
                                 <do>                             To correct
                                                                  To correct transcription
                                                                             transcription errors
                                                                                           errors

ass
 48:6        | Remove
               Remove <or>
                      <or> after
                           after <general>
                                 <general>                        To correct
                                                                  To correct transcription
                                                                             transcription errors
                                                                                           errors

 48:7          Replace
               Replace <whatever
                       <whatever they
                                   they appear
                                         appear in
                                                in the> with
                                                   the> with      To
                                                                  To correct
                                                                     correct transcription
                                                                             transcription errors
                                                                                           errors



ET            Ce Te
               <wherever they
               <wherever  they appear
                               appear --
                                       -- of>
                                          of>




or            Jems Tommie
 48:21         Remove <if>                                        To clarify the record



ETN           [eee py—
 50:8          Replace <;> with <,>                               To correct transcription errors



ETI           [eee pem——
 50:9          Replace <not -- indicate> with <not indicate>      To correct transcription errors

 50:10         Replace <they’re> with <you’re>                    To correct transcription errors

 51:11         Replace
               Replace <borderline
                        <borderline or
                                     or content>
                                        content> with
                                                 with             To
                                                                  To clarify
                                                                     clarify the
                                                                             the record
                                                                                 record
               <borderline content>
               <borderline  content>

 51:12         Replace
               Replace <harmfulness
                       <harmfulness information> with
                                    information> with             To
                                                                  To correct
                                                                     correct transcription
                                                                             transcription errors
                                                                                           errors



EE             CT
                ee
               <harmful
               <harmful misinformation>
                        misinformation>




EE             [rr   — y———
 53:13         Replace <or> with <and>                            To clarify the record



EEN            [re p—— y——
 54:21         Replace <categorize> with <have categorized>       To correct transcription errors



[EE            [rere    y——
 54:22         Insert <a> between <or> and <success>              To correct transcription errors



CE             Ce       yy
 60:9          Insert <the> between <if> and <WatchNext>          To correct transcription errors



[ET            [TE      CT
 61:1          Remove <of>                                        To correct transcription errors



CTR            [ee   Sy e—
 62:6          Add <the> between <use> and <related>              To clarify the record



CER            [Te      Ce —
 62:6          Replace <graphs> with <graph>                      To correct transcription errors



[ETI           [Te      Ce ——
 62:7          Replace <uses a> with <uses the>                   To correct transcription errors



[ETI           [ee   Sy re —
 62:18         Replace <to those> with <does or>                  To correct transcription errors



[EET           [TE — YS CT
 62:19         Replace <graphs> with <graph>                      To correct transcription errors

 62:20         Add <the> between <uses> and <related>             To clarify the record
         Case 3:20-cv-04423-JD Document 301-9 Filed 04/07/23 Page 13 of 18

Witness:
Witness: Cristos
          Cristos Goodrow
                  Goodrow — — June
                              June 28,
                                    28, 2022
                                        2022 Deposition
                                             Deposition
Schneider v.
Schneider  v. YouTube,
              YouTube, LLC,
                       LLC, No.  3:20-cv-04423-JD (N.D.
                            No. 3:20-cv-04423-JD    (N.D. Cal.)
                                                          Cal.)
Job No.
Job No. 846011
         846011




CE              [ree   pe———
[ETI            [eT TS pe———
 62:21           Replace <graphs> with <graph>                       To correct transcription errors



[ETI            [eee   pem———
 63:14           Replace <Ad’s> with <Ads>                           To correct transcription errors



CET             [rey pe—
 64:8            Replace <out,> with <about>                         To correct transcription errors



CEN             [Eee   pem——
 66:21           Insert <only> between <video> and <through>         To correct transcription errors



[EN             [EEE   pem——
 66:22           Insert <it> between <and> and <has>                 To correct transcription errors



CIT             [eep——
 67:1            Insert <it> between <to> and <.>                    To correct transcription errors



CEN             [ee    pem——
 68:19           Replace <or> with <for>                             To correct transcription errors

 68:22           Replace <as an> with <as a>                         To correct transcription errors

 68:23           Replace
                 Replace <university
                           <university or
                                       or maybe
                                          maybe entry
                                                 entry for
                                                        for U.S.C.>
                                                            U.S.C.> | To
                                                                      To correct
                                                                         correct transcription
                                                                                 transcription errors
                                                                                               errors
                 with  <university. There
                 with <university.   There might
                                           might be
                                                  be an
                                                     an entry
                                                         entry for
                                                               for
                 the U.S.C.>
                      U.S.C.>

CEN             [ee   Ce——
                 the

 69:3            Replace <graphs> with <grass>                       To correct transcription errors

CE
 69:3
                [ey   e—
                 Replace <tree> with <trees>                         To correct transcription errors

[CZ             [rr   y——
CEN             [re Ce —
 69:6            Replace <keypoint> with <key point>                 To correct transcription errors

 69:22           Replace <your> with <linear>                        To correct transcription errors

 72:14           Replace <enumeration
                 Replace  <enumeration ...
                                       ... (unintelligible)>
                                           (unintelligible)> with
                                                             with | To
                                                                    To correct
                                                                       correct transcription
                                                                               transcription errors
                                                                                             errors
                 <continuation>
                 <continuation>

215
72:15          | Insert
                 Insert <a>
                        <a> between
                            between <watching>
                                    <watching> and
                                               and <video>
                                                   <video>           To correct
                                                                     To correct transcription
                                                                                transcription errors
                                                                                              errors

 73:6            Replace
                 Replace <time
                          <time or
                                 or top
                                    top WatchNext
                                        WatchNext section>
                                                   section> with
                                                            with | To
                                                                   To correct
                                                                      correct transcription
                                                                              transcription errors
                                                                                            errors
                 <timer, the
                 <timer, the top
                             top WatchNext
                                 WatchNext suggestion>
                                             suggestion>

754
 75:4          | Replace
                 Replace <tear>
                         <tear> with
                                with <care>
                                     <care>                          To correct
                                                                     To correct transcription
                                                                                transcription errors
                                                                                              errors

 76:1            <all> with <many>                                   To correct transcription errors

 76:3            Replace <In
                 Replace <In all
                             all cases.>
                                 cases.> with
                                         with <Not
                                              <Not in
                                                   in all
                                                      all cases.
                                                          cases. | To
                                                                   To correct
                                                                      correct transcription
                                                                              transcription errors
                                                                                            errors
                 Yes.>
                 Yes.>

 76:17
76:07      |     Replace
                 Replace <well-enough>
                         <well-enough> with
                                       with <well
                                            <well enough>
                                                  enough>            To
                                                                     To correct
                                                                        correct transcription
                                                                                transcription errors
                                                                                              errors
         Case 3:20-cv-04423-JD Document 301-9 Filed 04/07/23 Page 14 of 18

Witness:
Witness: Cristos
          Cristos Goodrow
                  Goodrow — — June
                              June 28,
                                    28, 2022
                                        2022 Deposition
                                             Deposition
Schneider v.
Schneider  v. YouTube,
              YouTube, LLC,
                       LLC, No.  3:20-cv-04423-JD (N.D.
                            No. 3:20-cv-04423-JD    (N.D. Cal.)
                                                          Cal.)
Job No.
Job No. 846011
         846011




7703
 77:13          | Replace
                  Replace <content
                          <content ID>
                                   ID> with
                                       with <Content
                                            <Content ID>
                                                     ID>              To correct
                                                                      To correct transcription
                                                                                 transcription errors
                                                                                               errors

 77:15
771s            | Replace
                  Replace <ID>
                          <ID> with
                               with <Content
                                    <Content ID>
                                             [D>                      To
                                                                      To correct
                                                                         correct transcription
                                                                                 transcription errors
                                                                                               errors

 78:12            Replace
                  Replace <Jeff
                          <Jeff VanderMeer> with <Geoff
                                VanderMeer> with <Geoff van
                                                        van           To
                                                                      To correct
                                                                         correct transcription
                                                                                 transcription errors
                                                                                               errors
                  der Meer>
                  der Meer>

 79:5             Replace
                  Replace <within
                          <within aa difference>
                                     difference> with
                                                 with <within
                                                      <within --
                                                              -- | To
                                                                   To correct
                                                                      correct transcription
                                                                              transcription errors
                                                                                            errors
                  differ>
                  differ>

 80:19
80:09       |     Replace
                  Replace <an>
                          <an> with
                               with <the>
                                    <the>                             To
                                                                      To correct
                                                                         correct transcription
                                                                                 transcription errors
                                                                                               errors

 83:7
83:7       |      Replace
                  Replace <that
                          <that videos> with <the
                                videos> with <the videos>
                                                  videos>             To
                                                                      To correct
                                                                         correct transcription
                                                                                 transcription errors
                                                                                               errors

 84:18            Replace <That’s
                  Replace   <That’s not
                                    not aa setting.>
                                           setting.> with
                                                     with <That’s
                                                          <That’s aa | To
                                                                       To correct
                                                                          correct transcription
                                                                                  transcription errors
                                                                                                errors
                  setting.>
                  setting.>

 86:12
86:2            | Remove
                  Remove <,>
                         <,> after
                             after <called>
                                   <called>                           To
                                                                      To correct
                                                                         correct transcription
                                                                                 transcription errors
                                                                                               errors

875
 87:5      |      Replace <tags>
                  Replace <tags> with
                                 with <terms>
                                      <terms>                         To clarify
                                                                      To clarify the
                                                                                 the record
                                                                                     record

 87:6
57:6       |      Replace
                  Replace <of> with <and>
                          <of> with <and>                             To
                                                                      To correct
                                                                         correct transcription
                                                                                 transcription errors
                                                                                               errors

 87:13            Replace
                  Replace <the  uploaders> with
                           <the uploaders> with <I
                                                <I thought
                                                   thought you
                                                           you        To
                                                                      To correct
                                                                         correct transcription
                                                                                 transcription errors
                                                                                               errors
                  had said>

CER              CE    Cyr
                  had said>



CI               [aCe ——
 88:3             Replace <;> with <,>                                To correct transcription errors



CET              Ce    CYT
 89:4             Replace <but> with <-- but>                         To correct transcription errors



CE               Ce    CT
 89:19            Replace <funny> with <”funny”>                      To clarify the record



CE               Ce eS Cyep———
 89:19            Remove <title>                                      To clarify the record



CEN              [re   re —
 90:1             Replace <;> with <:>                                To correct transcription errors

 90:2             Replace <rating> with <rate>                        To correct transcription errors

 90:2             Replace
                  Replace <on
                           <on everything>
                               everything> with
                                           with <time,
                                                <time,                To
                                                                      To correct
                                                                         correct transcription
                                                                                 transcription errors
                                                                                               errors
                  everything>
                  everything>

 91:3
913        |      Replace
                  Replace <side-by-side’s>
                          <side-by-side’s> with
                                           with <side-by-sides>
                                                <side-by-sides> | To
                                                                  To correct
                                                                     correct transcription
                                                                             transcription errors
                                                                                           errors

 92:2
22         |      Replace
                  Replace <spamy>
                          <spamy> with
                                  with <spammy>
                                       <spammy>                       To
                                                                      To correct
                                                                         correct transcription
                                                                                 transcription errors
                                                                                               errors
         Case 3:20-cv-04423-JD Document 301-9 Filed 04/07/23 Page 15 of 18

Witness:
Witness: Cristos
          Cristos Goodrow
                  Goodrow — — June
                              June 28,
                                    28, 2022
                                        2022 Deposition
                                             Deposition
Schneider v.
Schneider  v. YouTube,
              YouTube, LLC,
                       LLC, No.  3:20-cv-04423-JD (N.D.
                            No. 3:20-cv-04423-JD    (N.D. Cal.)
                                                          Cal.)
Job No.
Job No. 846011
         846011




923
 92:3      |      Replace <can
                  Replace <can with>
                               with> with
                                     with <can,
                                          <can, with>
                                                with>                    To correct
                                                                         To correct transcription
                                                                                    transcription errors
                                                                                                  errors

 92:10
9210        |     Insert
                  Insert <-->
                         <--> between
                              between <thing>
                                      <thing> and
                                              and <like>
                                                  <like>                 To
                                                                         To correct
                                                                            correct transcription
                                                                                    transcription errors
                                                                                                  errors

92:11
x11             | Replace
                  Replace <terms.
                          <terms. Where>
                                  Where> with
                                         with <terms,
                                              <terms, where>
                                                      where> | To
                                                               To correct
                                                                  correct transcription
                                                                          transcription errors
                                                                                        errors

 92:12            Replace <embed
                  Replace    <embed them
                                      them with
                                             with how
                                                  how you
                                                       you measure
                                                            measure      To correct
                                                                         To correct transcription
                                                                                    transcription errors
                                                                                                  errors
                  space
                  space or
                         or measure
                             measure co-sign>
                                       co-sign> with
                                                 with <you
                                                      <you embed
                                                             embed
                  them in
                  them  in the
                            the same
                                same high-dimensional     space and
                                      high-dimensional space     and
                  you measure
                  you  measure like
                                 like the
                                      the cosine
                                           cosine similarity>
                                                  similarity>

0213
 92:13          | Replace
                  Replace <similarity
                          <similarity or>
                                      or> with
                                          with <similarity
                                               <similarity --
                                                           -- or>
                                                              or> | To
                                                                    To correct
                                                                       correct transcription
                                                                               transcription errors
                                                                                             errors

 92:14            Replace
                  Replace <sophisticated,
                           <sophisticated, then>
                                           then> with
                                                 with                    To
                                                                         To correct
                                                                            correct transcription
                                                                                    transcription errors
                                                                                                  errors



[CTR             [ey     Ce———
                  <sophisticated.
                  <sophisticated. Then>
                                   Then>

 92:15            Replace <game> with <gain>                             To correct transcription errors

EET
 94:9
                 [Te Pe  re —
                  Replace <play> with <Play>                             To correct transcription errors

CI               [re     Ce —
CE               [ry rye y——
 98:12            Replace <a way> with <the way>                         To correct transcription errors

 98:13            Replace <depicted. This> with <depicted, this>         To correct transcription errors

 99:5             Replace <search
                  Replace  <search inin the
                                        the video
                                             video results>
                                                   results> with
                                                            with         To correct
                                                                         To correct transcription
                                                                                    transcription errors
                                                                                                  errors
                  <video in
                  <video in the
                             the search
                                 search results>
                                          results>

99:7
 99:7      |      Replace <video
                  Replace <video or>
                                 or> with
                                     with <video
                                          <video -->
                                                 -->                     To correct
                                                                         To correct transcription
                                                                                    transcription errors
                                                                                                  errors

 100:11
00:1            | Replace
                  Replace <Internet>
                          <Internet> with
                                     with <an
                                          <an embed>
                                              embed>                     To
                                                                         To correct
                                                                            correct transcription
                                                                                    transcription errors
                                                                                                  errors

 100:22           Replace
                  Replace <Web
                            <Web site,
                                   site, let’s
                                         let’s say  your very
                                               say your  very own
                                                              own        To
                                                                         To correct
                                                                            correct transcription
                                                                                    transcription errors
                                                                                                  errors
                  Web site>
                  Web   site> with
                              with <website,
                                    <website, let’s
                                                let’s say
                                                      say your
                                                          your very
                                                               very
                  own
                  own website>
                       website>

 100:23-          Replace <Web
                  Replace <Web site>
                               site> with <website>
                                     with <website>                      To correct
                                                                         To correct transcription
                                                                                    transcription errors
                                                                                                  errors
 100:24

10305
 103:25     |     Replace <link>
                  Replace <link> with
                                 with <week>
                                      <week>                             To correct
                                                                         To correct transcription
                                                                                    transcription errors
                                                                                                  errors

 104:20           Replace <as
                  Replace  <as an
                               an item
                                   item and
                                         and list>
                                               list> with
                                                       with <is
                                                             <is just the | To
                                                                 just the   To correct
                                                                               correct transcription
                                                                                       transcription errors
                                                                                                     errors
                  appearance
                  appearance of
                              of an
                                 an item
                                     item in
                                           in aa list
                                                  list that
                                                        that was>
                                                             was>

051
105:1           | Replace
                  Replace <user
                          <user which>
                                which> with
                                       with <user
                                            <user --
                                                  -- which>
                                                     which>              To correct
                                                                         To correct transcription
                                                                                    transcription errors
                                                                                                  errors
         Case 3:20-cv-04423-JD Document 301-9 Filed 04/07/23 Page 16 of 18

Witness:
Witness: Cristos
          Cristos Goodrow
                  Goodrow — — June
                              June 28,
                                    28, 2022
                                        2022 Deposition
                                             Deposition
Schneider v.
Schneider  v. YouTube,
              YouTube, LLC,
                       LLC, No.  3:20-cv-04423-JD (N.D.
                            No. 3:20-cv-04423-JD    (N.D. Cal.)
                                                          Cal.)
Job No.
Job No. 846011
         846011




 108:6           Replace <about
                 Replace  <about crossroads?>
                                 crossroads?> with
                                              with <about
                                                   <about              To correct
                                                                       To correct transcription
                                                                                  transcription errors
                                                                                                errors
                 crossroads.>
                 crossroads.>

 108:6-108:8 | Remove
 108:6-108:8   Remove <Why
                         <Why don't
                                 don't you
                                       you provide
                                             provide me
                                                      me your
                                                         your        To correct
                                                                     To  correct portion
                                                                                   portion ofof
               understanding of
               understanding       what that
                                of what  that has
                                               has conveyed?
                                                   conveyed? That
                                                              That | transcript
                                                                     transcript in   which counsel’s
                                                                                  in which    counsel’s
               line that
               line that we
                         we just  read.> from
                            just read.>   from answer
                                                 answer              question is
                                                                     question   is incorrectly
                                                                                    incorrectly
                                                                     identified
                                                                     identified asas aa portion
                                                                                        portion of
                                                                                                 of the
                                                                                                    the
                                                                     deponent’s answer
                                                                     deponent’s     answer

0s
108:11        | Replace
                Replace <wait>
                        <wait> with
                               with <weight>
                                    <weight>                           To correct
                                                                       To correct transcription
                                                                                  transcription errors
                                                                                                errors

 108:14
08:14         | Replace
                Replace <wait>
                        <wait> with
                               with <weight>
                                    <weight>                           To
                                                                       To correct
                                                                          correct transcription
                                                                                  transcription errors
                                                                                                errors

 108:16          Replace <it’s
                 Replace   <it’s aa connected>
                                    connected> with
                                               with <I
                                                    <I guess
                                                       guess it’s
                                                             it’s aa | To
                                                                       To correct
                                                                          correct transcription
                                                                                  transcription errors
                                                                                                errors
                 directed>
                 directed>

 108:19
08:19         | Replace
                Replace <Edge>
                        <Edge> with
                               with <edge>
                                    <edge>                             To
                                                                       To correct
                                                                          correct transcription
                                                                                  transcription errors
                                                                                                errors

00:1
 109:11        | Replace
                 Replace <arrow
                         <arrow band> with <arrow
                                band> with <arrow at
                                                  at the
                                                     the end>
                                                         end> | To
                                                                To correct
                                                                   correct transcription
                                                                           transcription errors
                                                                                         errors

 109:11          Replace <metrics
                 Replace <metrics space
                                  space or>
                                        or> with
                                            with <metric
                                                 <metric space
                                                         space | To
                                                                 To correct
                                                                    correct transcription
                                                                            transcription errors
                                                                                          errors
                 or a>
                 or a>

no
110:1         | Replace
                Replace <subpart
                        <subpart to
                                 to the>
                                    the> with
                                         with <subpart
                                              <subpart of
                                                       of the>
                                                          the> | To
                                                                 To correct
                                                                    correct transcription
                                                                            transcription errors
                                                                                          errors

 110:2           Replace
                 Replace <titled,
                          <titled, definition>
                                   definition> with
                                               with <titled
                                                    <titled            To
                                                                       To correct
                                                                          correct transcription
                                                                                  transcription errors
                                                                                                errors
                 “definition”>
                 “definition”>

 110:2           Insert <design>
                 Insert <design> between
                                 between <nominator>
                                         <nominator> and
                                                     and               To correct
                                                                       To correct transcription
                                                                                  transcription errors
                                                                                                errors
                 <document>
                 <document>

is
111:5            Insert <close>
                 Insert <close> between <long> and
                                between <long> and <co-watch>
                                                   <co-watch> | To
                                                                To correct
                                                                   correct transcription
                                                                           transcription errors
                                                                                         errors

 111:6           Replace
                 Replace <on
                         <on the
                             the WatchNext>
                                 WatchNext> with
                                            with <on
                                                 <on the
                                                     the --
                                                         --            To
                                                                       To correct
                                                                          correct transcription
                                                                                  transcription errors
                                                                                                errors
                 WatchNext>
                 WatchNext>

 116:7           Replace <co-watch
                 Replace <co-watch on
                                   on the>
                                      the> with
                                           with <co-watch
                                                <co-watch --
                                                          --           To correct
                                                                       To correct transcription
                                                                                  transcription errors
                                                                                                errors
                 on the>
                 on the>

 111:9
 111:9           Replace <graph
                 Replace <graph that
                                that is
                                     is the>
                                        the> with
                                             with <graph
                                                  <graph is
                                                         is --
                                                            --         To correct
                                                                       To correct transcription
                                                                                  transcription errors
                                                                                                errors
        Case 3:20-cv-04423-JD Document 301-9 Filed 04/07/23 Page 17 of 18


Witness: Cristos Goodrow — June 28, 2022 Deposition
Schneider v. YouTube, LLC, No. 3:20-¢v-04423-JD (N.D. Cal.)
Job No. 846011




—
I
[Eo
               Replace <videos is> with <videos -- is>               To correct transcription errors




EI.
               Replace <PRG> with <PR team=                          {To correct transcription errors

               Replace <Andres> with <Andre>                         lo correct ranscription errors


alll           Replace <WatchNext at= with <WalchNex! and
               HE
                                                                     To correct transcription errors




wil            Insert <recommendation™> between <simplistic> | To correct transcription €rrors



os
               and <algorithm™




EEN
               Replace <or> with <so>                                To correct transcription errors

               [nsert <a> between <watch> and <hundred>              To correct Lranscription errors



  / \
               Subject 10 the above changes. | certify that the transcript is true and correct.

               No changes have been made. | certify that the transcript 1s true and correct.

               /
                                 /          =                                    \        :
               AA       A SNM val                                   A New              19202
                   (signature)                                 oo       = )   (date)
       Case 3:20-cv-04423-JD Document 301-9 Filed 04/07/23 Page 18 of 18


Witness: Cristos Goodrow    — June 28, 2022 Deposition
Schneider v. YouTube, LLC, No, 320-ev-04423-TD (NI. Cal.)
Job No. 846011




                             ACKNOWLEDGMENT OF DEPONENT

       I, Cristos Goodrow, do hereby certify that [ have read und examined
                                                                         Lhe foregoing

testimony, and that the same is a correct transcription of the answers given by me to the

guestions therein propounded, except for the corrections or changes in form or substance, if

any, noted in the attached Errata Sheet,
             /




       TT   Y                                                  Pocus 24 20g
        (signature)         N                                           J   (date)
